 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 1 of 11 PageID #: 750


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 1                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
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     - - - - - - - - - - - - - - - -X
 3   UNITED STATES OF AMERICA,      : 19-CR-408 (MKB)
                                    :
 4              Plaintiff,          :
                                    :
 5           -against-              :
                                    :
 6   ISKYO ARNOV, MICHAEL           : United States Courthouse
     KONSTANTINOVSKIY, TOMER        : Brooklyn, New York
 7   DAFNA, AVRAHAM TARSHISH, AND   :
     MICHAEL HERSKOWITZ,            :
 8                                  :
               Defendants.          :
 9                                  : Wednesday, October 2, 2019
     - - - - - - - - - - - - - - -X 11:00 a.m.
10

11
           TRANSCRIPT OF CRIMINAL CAUSE FOR STATUS CONFERENCE
12                BEFORE THE HONORABLE MARGO K. BRODIE
                      UNITED STATES DISTRICT JUDGE
13
                            A P P E A R A N C E S:
14
     For the Government:          RICHARD P. DONOGHUE, ESQ.
15                                United States Attorney
                                  Eastern District of New York
16                                271 Cadman Plaza East
                                  Brooklyn, New York 11201
17                                BY: SHANNON C. JONES, ESQ.
                                       Assistant United States Attorney
18
     For the Defendant            DECHERT, LLP
19   Iskyo Arnov:                 1095 Avenue of the Americas
                                  New York, New York 10036
20                                BY: MICHAEL J. GILBERT, ESQ.

21   For the Defendant            ABRAMS, FENSTERMAN, FENSTERMAN,
     Michael                         EISMAN, FORMATO, ET AL.
22   Konstantaninovskiy:          3 Dakota Drive
                                  Suite 300
23                                Lake Success, New York 1142
                                  BY: KENNETH ABELL, ESQ.
24

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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 2 of 11 PageID #: 751


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 1   For the Defendant            EMOUNA & MIKHAIL, P.C.
     Tomer Dafna:                 100 Garden City Plaza
 2                                Suite 520
                                  Garden City, New York 11530
 3                                BY: MATIN EMOUNA, ESQ.

 4
     For the Defendant            HAFETZ & NECHELES, LLP
 5   Avraham Tarshish:            60 East 42nd Street
                                  36th Floor
 6                                New York, New York 10165
                                  BY: SUSAN R. NECHELES, ESQ.
 7                                     KATHLEEN E. CASSIDY, ESQ.

 8
     For the Defendant            ADDABBO & GREENBERG
 9   Michael Herskiwitz:          118-21 Queens Boulevard
                                  Suite 306
10                                Forest Hills, New York 11375
                                  BY: TODD D. GREENBERG, ESQ.
11

12
     Court Reporter:        DAVID R. ROY, RPR
13                          225 Cadman Plaza East
                            Brooklyn, New York 11201
14                          drroyofcr@gmail.com

15   Proceedings recorded by Stenographic machine shorthand,
     transcript produced by Computer-Assisted Transcription.
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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 3 of 11 PageID #: 752


                                          Proceedings                              3


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 5               (In open court.)

 6               THE COURTROOM DEPUTY:             Criminal cause for status

 7   conference, Docket Number 19-CR-408 --

 8               THE COURT:       Please be seated, everyone.

 9               THE COURTROOM DEPUTY:             -- United States versus

10   Arnov, et al.

11               Will, Counsel please state your names for the

12   record?

13               MS. JONES:       Shannon Jones for the United States.

14   Good morning, Your Honor.

15               THE COURT:       Good morning, Ms. Jones.

16               Counsel?

17               MR. EMOUNA:         Good morning, Your Honor.         On behalf

18   of Tomer Dafna, Matin Emouna.

19               THE COURT:       Good morning, Counsel.

20               MR. EMOUNA:         Good morning, Your Honor.

21               THE COURT:       All right.

22               MR. GREENBERG:           Good morning, Your Honor.

23               THE COURT:       Good morning.

24               MR. GREENBERG:           Your Honor, on behalf of Michael

25   Herskowitz, Addabbo & Greenberg by Todd Greenberg.                  Good



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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 4 of 11 PageID #: 753


                                    Proceedings                             4


 1   morning.

 2               THE COURT:     Good morning.

 3               MS. NECHELES:     Good morning, Your Honor.      Susan

 4   Necheles and Kate Cassidy on behalf of Mr. Tarshish.

 5               THE COURT:     Good morning.

 6               MR. GILBERT:     Good morning, Your Honor.      Michael

 7   Gilbert on behalf of Mr. Arnov.

 8               MR. ABELL:     Good morning, Mr. Gilbert.

 9               MR. GILBERT:     Good morning.

10               MR. ABELL:     Good morning, Your Honor.      Kenneth

11   Abell on behalf of Mr. Konstantinovskiy.

12               THE COURT:     Good morning.    And good morning to all

13   the defendants.

14               ALL DEFENDANTS:      Good morning.

15               THE COURT:     What is the current status of this

16   matter, Ms. Jones?

17               MS. JONES:     Your Honor, this is our first status

18   conference in this case.

19               THE COURT:     It is.

20               MS. JONES:     Everyone has been arraigned.      Four of

21   the defendants were arraigned on the day they were arrested

22   in November -- or September 10th.          And Mr. Arnov was

23   arraigned last week on September 25th.

24               I sent everybody a stipulation to cover discovery

25   and particularly personally identified the information



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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 5 of 11 PageID #: 754


                                    Proceedings                             5


 1   because almost all the discovery in this case will have

 2   personal information of homeowners, bank account

 3   information, all that -- all that material.

 4               THE COURT:     And is it a protective order that

 5   you --

 6               MS. JONES:     Yeah.    Just -- just to deal with that,

 7   that material.

 8               THE COURT:     Right.

 9               MS. JONES:     And once I have all the signed

10   stipulations back from the parties, I will submit it to

11   the Court to be so ordered.

12               Recording discovery, as I discussed just right now

13   with Defense Counsel, everything -- with respect to

14   everything will be produced in electronic format, and we're

15   having it all prepared into a -- hopefully one or two -- at

16   least two separate load files that we'll be able to make

17   available to the defense counsel.         I'm hoping that the first

18   load file, which will be the bulk of the material that we've

19   gathered to date, including grand jury material,

20   administrative subpoenas, anything we've gathered from

21   witnesses voluntarily will be produced in about two weeks.

22   It's in the process of being dealt with by the

23   Litigation Tech Support Center that the Department of

24   Justices uses for that material.

25               THE COURT:     Okay.



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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 6 of 11 PageID #: 755


                                    Proceedings                               6


 1               MS. JONES:     And then there are --

 2               THE COURT:     And when do you expect that the second

 3   part of it will be disclosed?

 4               MS. JONES:     The second part is -- of course, as

 5   the investigation is ongoing, so we'll make supplemental

 6   productions as we gather more material.

 7               THE COURT:     Right.

 8               MS. JONES:     But the other big set of materials

 9   will be items that were seized on the Defendant Tomer Dafna.

10   We have items that were seized in May during a border

11   search.    And then we also have items that were seized when

12   his -- when -- on the day of his arrest, there was a

13   search warrant and the search was executed at his house.            So

14   those items have to be treated differently because we expect

15   there will be a --

16               THE COURT:     Slow down.

17               MS. JONES:     I'm sorry.

18               THE COURT:     You speak so quickly.

19               MS. JONES:     Those items will have to be treated

20   differently because I expect there will need to be a

21   privilege from you.       So I discussed that with defense

22   counsel for Mr. Dafna.       But the review will be -- the first

23   step is to get everything uploaded into a searchable

24   database that we can then run search terms against based on

25   the attorney names provided by Mr. Dafna's counsel.           So I've



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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 7 of 11 PageID #: 756


                                    Proceedings                              7


 1   discussed that with Mr. Dafna's counsel, getting the list of

 2   attorney names and I'm waiting for that.

 3               THE COURT:     Okay.   So turning to Defendants:      How

 4   quickly can you get the protective order so that discovery

 5   can be disposed?     Do we have any court, and can the parties

 6   sign it, or do you need time to review it?

 7               MS. CASSIDY:     Your Honor, Kathleen Cassidy on

 8   behalf of Defendant Karshish.

 9               We have some issues that we need to speak to the

10   Government about.

11               THE COURT:     With regarded to the order?

12               MS. CASSIDY:     The order, yes.

13               THE COURT:     Okay.

14               MS. CASSIDY:     So we can work with the Government

15   and get a signed order.

16               THE COURT:     Okay.

17               MR. GREENBERG:     Same here with Mr. Herskowitz,

18   Your Honor --

19               THE COURT:     You can remain seated, Counsel.

20               MR. GREENBERG:     I'm sorry?

21               THE COURT:     You can remain seated.

22               MR. GREENBERG:     Thank you.    Todd Greenberg on

23   behalf of Mr. Herskowitz.

24               Judge, I have some issues that go to the basis of

25   this stipulation and order, which I hadn't had a chance to



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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 8 of 11 PageID #: 757


                                       Proceedings                          8


 1   speak with the Government about.          I just think it's just

 2   overburdensome.

 3               THE COURT:     Okay.

 4               MR. GREENBERG:     I'm going to --

 5               THE COURT:     So I suggest you discuss it with

 6   the Government.

 7               MR. GREENBERG:     Sure.

 8               THE COURT:     And to the extent the parties cannot

 9   agree on the language, you should submit a letter to the

10   Court -- you can do it under seal, if you want -- notifying

11   me as to what the dispute is so that I can resolve it.

12               And so how much time are the parties asking for

13   in order to review the materials that you should be

14   receiving shortly?       It sounds like it is going to take a

15   little while?

16               MS. JONES:     It -- it is, Your Honor.     We have

17   discussed -- we have discussed having the next status

18   conference about six weeks out.          But there seems to be a

19   preference to do it the week after Thanksgiving, rather than

20   the week before.     So that would put us during -- into the

21   first week of December.

22               THE COURT:     Based on my trial schedule here --

23               MS. JONES:     Yes.

24               THE COURT:     -- that's better for the Court.

25               MS. JONES:     Okay.



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 Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 9 of 11 PageID #: 758


                                       Proceedings                          9


 1               MS. NECHELES:     Your Honor?

 2               THE COURT:     Yes.

 3               MS. NECHELES:     Susan Necheles.     Can we just ask

 4   what the volume of the material is?         We don't have any sense

 5   as to, you know, how long it would take, depending on the

 6   volume of the material is.

 7               THE COURT:     I suggest that you discuss that

 8   off-line with Ms. Jones.          I'm sure she will be more than

 9   happy to provide that information to you.

10               Based on what she just represented in court, it

11   sounds like you will get it, the bulk of it, or at least

12   half of it soon and the other half later on.           In terms of

13   volume, just ask her.       I'm sure she will tell you.

14               So can give me a date, Winnie?

15               THE COURTROOM DEPUTY:       Yes, Judge.    December 3rd.

16               THE COURT:     December 3rd, does that work for all

17   the parties, and that will be at 10:00 a.m.?

18               MR. GILBERT:     That's fine, Your Honor.

19               MS. CASSIDY:     That's fine.

20               THE COURT:     Okay.    So I am adjourning this matter

21   to December 3rd at 10:00 a.m.

22               I assume none of the defendants have any objection

23   to me excluding time?

24               Is there any objection?

25               MR. EMOUNA:     No objection, Your Honor.



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Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 10 of 11 PageID #: 759


                                   Proceedings                             10


 1              MR. ABELL:     No objection.

 2              THE COURT:     Okay.   I am excluding time between now

 3   and then in view of the fact that discovery needs to be

 4   provided and the defendants need time to review it.

 5              As to all the defendants, I remind you that you

 6   are obligated to continue to comply with all

 7   Pretrial Services's conditions.

 8              Is there anything else that we need to discuss,

 9   Counsel?

10              MS. JONES:     No, Your Honor.     Just on the order of

11   excludable delay, the Government does note that in its view,

12   this case is complex due to both the number of defendants

13   and the number of discovery that will be involved.           And in

14   addition, while it's still -- we're still in very

15   preliminary stages, there are the beginning of ongoing plea

16   negotiations with at least some of the parties.

17              THE COURT:     Okay.   So I will wait until I have a

18   better sense of the volume of discovery.

19              MS. JONES:     Okay.

20              THE COURT:     There is no basis for me to deem it

21   complex based on the number of Defendants.            But depending on

22   the volume of discovery, once that is provided and the

23   defendants have a better sense of what it is, you can make

24   that motion, and I will hear from the defendants if there is

25   any objection to that.



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Case 1:19-cr-00408-MKB Document 97 Filed 01/03/20 Page 11 of 11 PageID #: 760


                                                             Proceedings                                                         11


 1                        Anything else today?

 2                        MS. JONES:                   Not from the Government, Your Honor.

 3   Thank you.

 4                        THE COURT:                   Is there anything else from the

 5   defendants.

 6                        ALL DEFENDANTS' COUNSEL:                                No, Your Honor.                   Thank

 7   you.

 8                        THE COURT:                   All right.              We are adjourned until

 9   December 3rd.

10                        MR. EMOUNA:                  Thank you, Your Honor.

11                        (Matter concluded.)

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                          / s /   D a v i d       R.   Roy                                 O c t o b e r   8 ,   2 0 1 9
18                            DAVID          R.    ROY                                               D a t e


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